                                                                                                                    ~ ... ~~~~ .. ~   ---------------------
            Case 3:15-cr-01582-PCL                         Document 64                Filed 06/17/15               PageID.120               Page 1 of 2

    ~0245B        (Rev. 12111) Judgment in a Criminal Petty Case
                  Sheet 1

                                              UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                      UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                           (For Offenses Committed On or After November I, 1987)

                              Alfredo Salas-Ruiz                                     Case Number: 15CR1582-PCL
                                                                                     James Johnson
                                                                                     Defendant's Attorney
    REGISTRATION NO. 44628298

    o
    THE DEFENDANT:
    181 pleaded guilty to count(s)...;C.;;;oun.;;.;;;.;t...;2;...0;;.,;f...;i;;.;.n6;;.,;0.;:.;rm=at;.;.io;;.;.n~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
    o was found gUilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty ofsuch count(s), which involve the following offense(s);
                                                                                                                                                Couot
    Title & Section                          Nature ofOtTeose                                                                                  Number(s)
8 USC 1325                            Improper Entry by an Alien (Misdemeanor)                                                                  2




              The defendant is sentenced as provided in pages 2 through                     2      of this judgment.

   o The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   o Count(s)                                                    is 0 areD dismissed on the motion of the United States.
   181 Assessment: $10.00 waived


   181 Fine waived                                     o Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ _ , included herein.
             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
       or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
       defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                  .                                                1
                                                                                       Ju
                                 FILED
                                  JUN 172015
                                                                                       UNITED STATES MAGISTRATE JUDGE
                        CL.ERK, u.s. DISTRICT COURT
                      SOUTHERN DISTRICd,5tALlFORNIA
                      BY                                 DEPUTY                                                                                     15CR1582-PCL
     Case 3:15-cr-01582-PCL                            Document 64           Filed 06/17/15          PageID.121            Page 2 of 2

AO 245B     (Rev. 12111) Judgment in Criminal Petty Case
            Sheet 2 -Imprisonment

                                                                                                     Judgment - Page      2     of        2
DEFENDANT: Alfredo Salas-Ruiz
CASE NUMBER: 15CR1582-PCL
                                                               IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          90 days



   o Sentence imposed pursuant to Title USC Section   8           1326(b).
   o The court makes the following recommendations to the Bureau of Prisons:

    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
            Oat                                        Oa.m.    OP.ro.       on _ _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendarIt shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       0 _________________________________________________
       o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                  RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                        to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                                   UNITED STATES MARSHAL

                                                                         By
                                                                              ------------D-E-PUTY---UN--IT-ED--S-T-A-TES--MAR---S~HAL-------------




                                                                                                                                15CR1582-PCL
